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                                 UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


Securities and Exchange Commission                              4:23-cv-06003-DMR
                                                     Case No.
                 Plaintiff(s),
                                                     CONSENT OR DECLINATION
          v.                                         TO MAGISTRATE JUDGE
                                                     JURISDICTION
Payward, Inc., et al.
                 Defendant(s).

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

       ‫ ܆‬CONSENT to Magistrate Judge Jurisdiction

        In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

       OR

       ✔
       ‫܆‬DECLINE Magistrate Judge Jurisdiction

       In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

 DATE: December 4
       _______________,    23
                        20____                    NAME: Daniel Blau

                                                           /s/ Daniel Blau
                                                                        Signature
                                          COUNSEL FOR
                                          (OR “PRO SE”): Plaintiff Securities and Exchange
                                                           Commission
             Case 4:23-cv-06003-DMR Document 13 Filed 12/04/23 Page 2 of 3




 1                                  PROOF OF SERVICE
 2   I am over the age of 18 years and not a party to this action. My business address is:
 3         U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
 4         Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5   On December 4, 2023, I caused to be served the document entitled DECLINATION
     TO MAGISTRATE JUDGE JURISDICTION on all the parties to this action
 6   addressed as stated on the attached service list:
 7   ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
     collection and mailing today following ordinary business practices. I am readily
 8   familiar with this agency’s practice for collection and processing of correspondence
     for mailing; such correspondence would be deposited with the U.S. Postal Service on
 9   the same day in the ordinary course of business.
10         ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
     which I personally deposited with the U.S. Postal Service. Each such envelope was
11   deposited with the U.S. Postal Service at Los Angeles, California, with first class
     postage thereon fully prepaid.
12
           ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
13   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
     Angeles, California, with Express Mail postage paid.
14
     ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
15   office of the addressee as stated on the attached service list.
16   ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
     by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
17   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
     Los Angeles, California.
18
     ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
19   the electronic mail address as stated on the attached service list.
20   ☒    E-FILING: By causing the document to be electronically filed via the Court’s
     CM/ECF system, which effects electronic service on counsel who are registered with
21   the CM/ECF system.
22   ☐     FAX: By transmitting the document by facsimile transmission. The
     transmission was reported as complete and without error.
23
           I declare under penalty of perjury that the foregoing is true and correct.
24
25
      Date: December 4, 2023                    /s/ Daniel Blau
26                                              Daniel Blau
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 1                             SEC v. Payward, Inc., et al.
              United States District Court—Northern District of California
 2                           Case No. 4:23-cv-06003-DMR
 3                                  SERVICE LIST
 4
 5   Brian Klein
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 7   bklein@waymakerlaw.com
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 8   Attorney for Defendants Payward, Inc. and Payward Ventures, Inc.
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